Case 6:19-bi<-01171-CC.] Doc 9 Filed 04/08/19 Paoe 1 of 7

Fili in this information to identify your case:

   
  
       
       

 

 

D€berl Mario J7 Guzman Vazquez 77 7 7* __ __

Flrst Name Midd|e Name Last Name
D€beFZ Nlarineli§Rivera Rodriguez 7 7 7 _
(Spouse if, tiirng) First Name 7 Nlldclie Name Last Name

United States Bankruptcy Court for the: NllDDLE D|S7TRiCT OFEORIDA

 

Case number 6:19:t_:k-01171

(ii l<nown)

l Check if this is an
amended Hling

Official Form 1068um
Summary of Your Assets and Liabi|ities and Certain Statistical information 12115

 

 

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct
information. Fiii out all of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

Your assets
Va|ue of what you own

1. Schedu|e AIB: Property (Oft`lcia| Form 106NB}

1a. Copy line 55, Total real estate. from Scheduie AfB ................................................................................................ 5 _ _ 358»200'00
1b. Copy line 62. Total personal property. from Schedule AIB ..................................................................................... $ _ 36,161_32
1c. Copy line 63, Total of all property on Schedule A/B ............................................................................................... S 77 394,361_31

Summarize Your Liabiiities

 

Your liabilities
Amount you owe

2. Scheduie D.' Creditors Who Have Cla."ms Secured by Property (Official Form 106D)

2a. Copy the total you listed in Coiumn A, Amount ofciaim, at the bottom of the last page of Part 1 of Schedule D... 5 ,____ 359'02_9§{
3. Schedule E/F.' Creditors Who Have Unsecured Cla."ms {Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedu!e E/F ................................. 3 _0-00
3b. Copy the total claims from F'art 2 {nonpriority unsecured ciaims) from line Sj of Schedule E/F ............................ 5 77 7 59,930_00
ff ,i, vi
Yourtotai liabilities 5 438,959,00

Part 31 Summarize Your income and Expenses

 

4. Scheduie l.' Your income (Oiticial Form 106|)
Copy your combined monthly income from line 12 of Schedule l ................................................................................ 5 __ 511 79_'2:

5. Scheduie J.' Your Expenses {Official Form 106J)
Copy your monthly expenses from line 22c of Scheduie J ......................................................................... 5 _ 511 32‘1 4

Answer These Ctuestions for Administrative and Statistica| Records

6. Are you filing for bankruptcy under Chapters 7,11, or 13?
l:] No. ¥ou have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

- ¥es
7. What kind of debt do you have?

- Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose." 11 U.S.C. § 101(8). Fill outlines S-Qg for statistical purposes 28 U.S.C. § 159.

|:| Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to

Ofl'lcial Form 1OBSum Summary of Your Assets and Liabi|ities and Certain Statisticai information page 1 of 2

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Case 6:19-bi<-01171-CC.] Doc 9 Filed 04/08/19 Page 2 of 7

Dethrl Mario J Guzman Vazquez

 

 

 

 

 

 

 

 

 

 

Debt°r 2 Marinelis Rivera Rodriguez CHS€ number (ifknOWn) 6?19'bk'01171
the court with your other schedules
8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Ofticial Form 2 447 49
122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 1220-1 Line 14. 1 '
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
Tota| claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government (Copy line 6b.) $ 0.00
90. C|aims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0_00
9d. Student loans. (Copy line 6f.) $ 10,201.00
Qe. Obiigations arising out of a separation agreement or divorce that you did not report as
priority ciaims. (Copy line Gg.) 0'00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h_) +$ 0_00
gg. Tota|. Add lines 9a through 9f. $ 10,201.00
Official Form 1068um Summary of Your Assets and Liabilities and Certain Statisticai information page 2 of 2

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Basl Case Bankrupicy

Case 6:19-bl<-01171-CC.] Doc 9

Fiil in this information to identi

Debtor 1

Mario J Guzman Vazquez

Debtor 2
(Spouse, if tiiing)

Marine|is Rivera Rodriguez

United States Bankruptcy Court for the: MlDDLE DlSTR|CT OF FLOR|DA

Case number
(lf known)

6:19-bk-01 1 71

 

Filed 04/08/19 Page 3 of 7

 

 

Official Form 106|
Schedu|e |: Your income

Check if this is:

l An amended filing

l:l A supplement showing postpetition chapter
13 income as of the following date:

lVlM / DD/ YYYY
12/15

Be as complete and accurate as possib|e. lf two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. |f you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. |f you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Empioyment

1. Fiil in your employment

information. Debtor 1

7 Debtor 2 or non-filing spouse

 

If you have more than one jobl - Empioyed
attach a separate page with
information about additional

employers

Empioyment status*

Occupation President

include part-time, seasonal, or l
self-employed won<. Emp|°yE" 5 name

Occupation may include student Empioyer's address

or homemaker, if it applies.

El Not employed

|CF Casa de Oracion

1630 Vintage St
Kissimmee, FL 34746

- Empioyed
l:l Not employed

Medicai Assistant

Osceola Surgical Assoc LLC

320 W Bass St
Kissimmee, FL 34741

 

How long employed there?

Since 8-24-2016 (1099)

since 11I2018

*See Attachment for Additional Empioyment information

eive oerails About Monthiy income

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write $O in the space. include your non-filing

spouse unless you are separated

|f you or your non-filing spouse have more than one employerl combine the information for all employers for that person on the lines below. if you need

more spaoe, attach a separate sheet to this fonn.

List monthly gross wages, salary, and commissions (before all payroll

2~ deductions). |f not paid month|y, calculate what the monthly wage would be.

3. Estimate and list monthly overtime pay.

4. Calculate gross income. Add line 2 + line 3.

Omcial Form 1061

 

 

 

 

For Debtor1 l For Debtor 2 or
non-filing spouse
2 $ 2,000.00 $ 2,198.47
3 +$ 0.00 +$ 0.00
4 $ 2,000.00 $ 2,198.47

 

 

 

 

 

Schedule l: Your Income

page l

Debtor 1

CaSe 6219-bl<-01171-CC.]

Mario J Guzman Vazquez

Debtor2 Marineiis Rivera Rodriguez

10.

11.

12.

13.

 

Case number (irknown)

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For Debtor 1 ` For Debtor 2 or
l t non-firing spouse

Copy line 4 here 4~ $ 2,000.00 $ 2,198.47
List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ 0.00 3 152.84
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $ 0.00
5e. Voluntary contributions for retirement plans 5c. $ 0.00 $ 22.62
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ 0.00
5e. insurance 5e. $ 0.00 $ 143.74
5f. Domestic support obligations 5f. $ 0.00 $ 0.00
5g. Union dues 59. $ 0.00 $ 0.00
5h. Other deductions. Specify: 5h.+ $ 0.00 $ 0.00
Add the payroll deductions Add lines Sa+5b+5c+5d+5e+5f+59+5h. 6. $ 0.00 $ 319.20
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 2,000,00 $ 1,879.27
List ali other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receiptsl ordinary and necessary business expenses, and the total

monthly net income. 88. $ 0.00 $ 0.00
8b. interest and dividends 8b. $ 0.00 $ 0.00
86. Famiiy support payments that you, a non-filing spouse, or a dependent

regularly receive

include alimonyl spousal support, child support, maintenance divorce

settlement, and property settlement 80. $ 0.00 5 0.00
8d. Unemployment compensation 8d. $ 0.00 5 0.00
8e. Social Security 86. $ 0.00 5 0.00
8f. Other government assistance that you regularly receive

include cash assistance and the value (if known) of any non-cash assistance

that you receive. such as food stamps (benetits under the Supplemental

Nutrition Assistance Program) or housing subsidies

SPeCifl/I 8f- $ 0.00 $ 0.00
89. Pension or retirement income Bg. $ 0.00 $ 0.00
8h. Other monthly income. Specify: Part .. time job Bh-"' $ 1,300.00 $ 0.00
Add all otherincome. Add lines 8a+8b+8c+8d+8e+8f+89+8h. 9. $ 1,300.00 $ 0.00
Calculate monthly income. Add line 7 + line 9. 10. $ 3,300.00 + $ 1,879.27 = $ 5,179.27
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household, your dependents your roommates, and
other friends or reiatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. +$ 0.00
Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Re|ated Data, if it
applies $M

Combined

Do you expect an increase or decrease within the year after you file this form?

No.
Yes. Expiain:

E|
l

Of`f'lcial Form 1061

 

 

 

monthly income

 

 

payment for services as Senior Pastor.

Debtor is looking for another job as he lost the truck business

Debtors are officers of a Non Profit Organization CF| Casa de Oracion inc. Debtor receives a

 

Schedule I: Your income

page 2

 

 

 

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Deb¢or1 Mario J Guzman Vazquez
Deblor 2 Marineiis Rivera Rodriguez case number (rrknown) 6119-bk-01171

Official Form B 6|
Attachment for Additional Empioyment information

 

Debtor

 

Occupation truck driver

 

Name of Empioyer R&R E|ite Trucking

 

How long employed since 311/2019

 

 

Address of Empioyer 526 Pace Dr
Kissimmeel F|_ 34759 Part time job. income $300 weekly

 

 

 

Of`t'rciai Form 1061 Schcdule l: Your lncome page 3

Case 6:19-bl<-01171-CC.] Doc 9 Filed 04/08/19 Page 6 of 7

Flll in this information to identify your case:

 

 

Debtor1 N|ario J Guzman Vazquez

Fireramc ii r.iiddlo'l:l§rn'c' " m "l._a_ll_§"ame"n mm_ _ id
991le Ma£§';!§!i§ Rivera__iiedrieuez . .. .__.`
(Spguse i." ll|ing) Frrst Name 7 n hriil$;i|c Name m - won L*]$t Namew f _ __

 

` United States Bankruptcy Court for ihe: MlDDLE DISTR|CT OF FLOR|DA

Case number

trimming l Check if this is an

amended ming

l

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r
r._.

 

Oflicial Form 106lJec
Declaration About an individual Debtor's Schedules mrs

if two married people are filing together, both are equally responsible for supplying correct information
You must tile this form whenever you file bankruptcy schedules or amended schedules. lillaking a false statement, concealing property. or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both.1i‘:l U.S.C. §§ 152. 1341, 1519, and 3571.

- Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

 

-No

[:] Ves. Name of person Attach Bankruptcy Pelilr`on Preparer's Notr'ce,
_""H“'_"" `__""__` " "_"g ' ' """ ` Declarair'on, and Signalure (Ofiicial Form 119)

Under penalty of perjury, | declare that l have read the summary and schedules filed with this declaration and

thattl'r aretrueand correg. ,
>< :*/A:// /ll><“;?f »_'{\,'m\)~`@ iv

Nla 'c(.l Guzman Vazquez Marineiis Rivera Ro'gi`riguez
S` nature of Debtor 1 Signaiure of Debior 2

Date lsql)('\[f_gi ‘2‘0[6}j ____hi Daie A‘Fvy_\’(_@;__£_@lq___ _ j

Ochial Form iooDec Declaration About an individual Debtor’s Scheduies

Soir'.~.a:e Copyngn’. lc) 1595-2015 Best Case LLC 1.'.~.'.'.'. bestoase corn EES'l CHSE Bani'-luP'-C¥

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UNITED STATES BANKRUPTCY COURT
MlDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

Www.timb.uscourts.gov

In re: Case No. 6:19-bk-01171-CCJ
Chapter 7
Mario J. Guzman Vazquez,
Marineiis Rivera Rodriguez,
Debtor.
/

 

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the foregoing Chapter 7 Amended
Summary of Schedules and Amended Schedule I (along with the 341 Notice) have been
furnished by electronic mail or U.S. mail to the U.S. Trustee, 400 W. Washington Street, Suite
1100, Orlando, FL 32801; and Arvind Mahendru, Chapter 7 Trustee and all creditors on the

attached matrix this 8th day of April, 2019.

/s/ WALTER F. BENENATI
Walter F. Benenati, Esquire
2702 East Robinson Street
Orlando, FL 32803
Telephone: 407/777-7777
Facsimile: 407/236-7667
Fla. Bar #46679

